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 9
                               IN THE UNITED STATES DISTRICT COURT
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                             FOR THE EASTERN DISTRICT OF CALIFORNIA
11
                                         SACRAMENTO DIVISION
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14     RALPH COLEMAN, et al.,                              Case No. 2:90-cv-00520 KJM-DB (PC)

15                                           Plaintiffs,   DEFENDANTS’ EX PARTE
                                                           APPLICATION TO STAY
16                    v.                                   PROCEEDINGS

17                                                         Judge:          The Honorable Kimberly J.
       EDMUND G. BROWN JR., et al.,                                        Mueller
18
                                          Defendants.
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21           TO THE COURT AND TO PLAINTIFFS, BY AND THROUGH THEIR COUNSEL:

22           PLEASE TAKE NOTICE that Defendants apply ex parte to this Court for a stay of all

23     proceedings, particularly the October 15, 2018 evidentiary hearing on telepsychiatry and related

24     status conference on staffing issues, to allow Defendants time to review and address a document

25     concerning the California Department of Corrections and Rehabilitation’s (CDCR) Mental Health

26     Services Delivery System (MHSDS) that was provided to Defendants’ counsel on October 3,

27     2018 by CDCR’s Chief Psychiatrist Michael Golding, M.D. Defendants make this application

28     under Federal Rule of Civil Procedure 7 and Civil Local Rule 144(c).
                                                      1
                                           Defs.’ Ex Parte Appl. to Stay Proceedings (2:90-cv-00520 KJM-DB (PC))
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 1           The document authored by Dr. Golding makes allegations concerning various aspects of the

 2     MHSDS that potentially impact the evidence that Defendants were preparing to present at the

 3     evidentiary hearing currently scheduled to begin on October 15, 2018. The allegations also

 4     potentially impact other pending matters related to staffing, including matters the Court intended

 5     to discuss at the October 15, 2018 status conference. Among other things, the document, which is

 6     160-pages long and includes approximately 60 referenced exhibits, questions the methodology

 7     through which CDCR calculates multiple mental-health compliance figures and data points and

 8     alleges that psychiatrists under Dr. Golding’s leadership are not seeing patients as reported in the

 9     data tracking system. Upon receiving the document from the Plata Receiver’s staff the night of
10     October 3, 2018, Defendants provided it to the Special Master and Plaintiffs’ counsel on the
11     morning of October 4, 2018.
12           Dr. Golding’s allegations include references to confidential inmate medical information,
13     and Defendants have not attached the document or detailed its contents in this ex parte
14     application. Defendants are willing to submit the document with attachments to the Court for in
15     camera review upon request.
16           CDCR takes the allegations and claims raised by Dr. Golding seriously. But given the
17     timing of its disclosure, CDCR needs time to evaluate the allegations and determine the extent to
18     which they may impact multiple outstanding issues before the Court, including those to be raised
19     in the October 15, 2018 evidentiary hearing. Accordingly, Defendants request a stay of the
20     October 15, 2018 evidentiary hearing and all related filing deadlines. Defendants request that the

21     Court instead hold a status conference on October 15, 2018 to discuss how the parties and the

22     Special Master, with the Court’s guidance, should proceed to address the document’s allegations.

23     If the Court is not inclined to continue the evidentiary proceedings, Defendants request a short

24     extension of time—from October 8, 2018 to October 10, 2018—to file the parties’ joint exhibit

25     and witness list and proposed hearing schedule.

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                                            Defs.’ Ex Parte Appl. to Stay Proceedings (2:90-cv-00520 KJM-DB (PC))
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 1     Dated: October 5, 2018                        Respectfully submitted,

 2                                                   XAVIER BECERRA
                                                     Attorney General of California
 3                                                   ADRIANO HRVATIN
                                                     Supervising Deputy Attorney General
 4

 5
                                                     /s/ ANDREW M. GIBSON
 6                                                   ANDREW M. GIBSON
                                                     Deputy Attorney General
 7                                                   Attorneys for Defendants

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